                 Case 18-40667                             Doc 11                Filed 04/27/18 Entered 04/27/18 09:42:56                                                          Desc Main
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 Fill in this information to identify the case:

 Debtor name            Aspirity Holdings, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MINNESOTA

 Case number (if known)               18-40667
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            99,532.71

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            99,532.71


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        6,185,442.24


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           6,185,442.24




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Aspirity Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)         18-40667
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    BMO Harris Bank NA
                    PO Box 755
                    Chicago IL 60690                                         Business Checking
           3.1.     Balanace as of 8-31-2017                                 Account                        6923                                       $106.71


                    BMO Harris Bank NA
                    PO Box 755
                    Chicaco IL 60690
           3.2.     Balance as of 8-31-2017                                  Money Market                   6931                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $106.71
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Collateral Deposits                                                                                                             $29,350.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Aspirity Holdings, LLC                                                       Case number (If known) 18-40667
                Name



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                          $29,350.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used     Current value of
                                                                                                     for current value         debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     The Debtor is the 100% owner of Aspirity
                     Energy, LLC; Asprity Financial, LLC; and
           15.1.     Aspirity Services, LLC.                                        100%      %      N/A                                   Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                 $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Aspirity Holdings, LLC                                                        Case number (If known) 18-40667
                Name

            General description                                               Net book value of       Valuation method used     Current value of
                                                                              debtor's interest       for current value         debtor's interest
                                                                              (Where available)

 39.        Office furniture
            Office Furniture & Computers @ book value                                 $70,076.00      N/A                                 $70,076.00



 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software

 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                             $70,076.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor          Aspirity Holdings, LLC                                                                              Case number (If known) 18-40667
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $106.71

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $29,350.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $70,076.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $99,532.71          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $99,532.71




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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 Fill in this information to identify the case:

 Debtor name         Aspirity Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)         18-40667
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Aspirity Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)           18-40667
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $5,000.00
           Aakash Bakshi                                                        Contingent
           1742 Chattakay Lane                                                  Unliquidated
           Suwanee, GA 30024                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $10,000.00
           Al Marks                                                             Contingent
           7913 S Barkers Bend Dr                                               Unliquidated
           Murrayville, GA 30564                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $75,000.00
           Alfonso & Christina Gilletto                                         Contingent
           1348 Meadowbrook St                                                  Unliquidated
           Kissimmee, FL 34744                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholders
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $11,200.00
           All Furniture                                                        Contingent
           63 St. Anthony Parkway                                               Unliquidated
           Minneapolis, MN 55418                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      6699
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 22
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 Debtor       Aspirity Holdings, LLC                                                                  Case number (if known)            18-40667
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,974.00
          Alliance Management                                                   Contingent
          Carlswon Towers, Suite 110                                            Unliquidated
          601 Calrson Pkwy                                                      Disputed
          Minnetonka, MN 55305
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1702                         Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $125,417.00
          American Express                                                      Contingent
          PO Box 360001                                                         Unliquidated
          Fort Lauderdale, FL 33336-0001                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100,000.00
          Angelo J. Turco                                                       Contingent
          1731 Route 9                                                          Unliquidated
          Unit 144                                                              Disputed
          Ocean View, NJ 08230
                                                                             Basis for the claim:    Noteholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,383.54
          Ann I. Johannes                                                       Contingent
          14067 Alden Ln                                                        Unliquidated
          Frisco, TX 75035                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,354.17
          Anthony & Karen Nicosia                                               Contingent
          17690 Tremont St                                                      Unliquidated
          Brookfield, WI 53045-2400                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Anthony J. Archer                                                     Contingent
          1326 NW 40th Pl                                                       Unliquidated
          Cape Coral, FL 33993                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,000.00
          Anthony Prince                                                        Contingent
          432 Mulford Dr SE                                                     Unliquidated
          Grand Rapids, MI 49507                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 22
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 Debtor       Aspirity Holdings, LLC                                                                  Case number (if known)            18-40667
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,325.00
          Baker Tilly, et al                                                    Contingent
          225 S 6th Street #2300                                                Unliquidated
          Minneapolis, MN 55402                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1847
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $134.00
          BambooHR LLC                                                          Contingent
          335 South 560 West                                                    Unliquidated
          Lindon, UT 84042                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9229
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,500.00
          Bank of Oklahoma                                                      Contingent
          PO Box 1270                                                           Unliquidated
          Tulsa, OK 74101-1270                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7344
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,731.00
          BCBS of Minnesota                                                     Contingent
          Control Group No. 4P481-00 1                                          Unliquidated
          PO Box 64676                                                          Disputed
          Saint Paul, MN 55164-0676
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2E11                         Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,671.00
          Bell Mortgage                                                         Contingent
          c/o Kristine Rodriguez                                                Unliquidated
          5500 Wayzata Blvd #300                                                Disputed
          Minneapolis, MN 55416
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       21                           Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Benjamin J. Bourgeois                                                 Contingent
          10778 Quail Ridge Drive                                               Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,000.00
          Catherine Tylka                                                       Contingent
          27653 Alps Lane                                                       Unliquidated
          Escondido, CA 92026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 22
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 Debtor       Aspirity Holdings, LLC                                                                  Case number (if known)            18-40667
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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Center for Family Development                                         Contingent
          5820 Main Street                                                      Unliquidated
          Suite 406                                                             Disputed
          Buffalo, NY 14221
                                                                             Basis for the claim:    Noteholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $846.00
          Century Link                                                          Contingent
          Business Services                                                     Unliquidated
          PO Box 52187
                                                                                Disputed
          Phoenix, AZ 85072-2187
          Date(s) debt was incurred
                                                                             Basis for the claim:    282.77; 282.80; 280.00
          Last 4 digits of account number       8108;7229;7718               Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $190,216.97
          Chitralekha Harkant Shulka                                            Contingent
          9518 Round Up Lane                                                    Unliquidated
          Houston, TX 77064                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $189,651.00
          Chris Beck                                                            Contingent
          5353 Mill Stream Court                                                Unliquidated
          Saint Cloud, FL 34771                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,850.00
          Clifton Larson Allen, LLP                                             Contingent
          PO Box 776376                                                         Unliquidated
          Chicago, IL 60677-6376                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $73,643.72
          Coltraine Enterprises, LLC                                            Contingent
          2247 Saine Manor Drive                                                Unliquidated
          Jackson, MI 49201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,870.00
          Computer Integration Tech.                                            Contingent
          2375 Ventura Drive                                                    Unliquidated
          Woodbury, MN 55125                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 22
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 Debtor       Aspirity Holdings, LLC                                                                  Case number (if known)            18-40667
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,500.00
          Curtis E. Glenn                                                       Contingent
          2722 Clayton Street                                                   Unliquidated
          Philadelphia, PA 19152-2103                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,272.37
          Cynthia L. Colletti                                                   Contingent
          14067 Alden Ln                                                        Unliquidated
          Frisco, TX 75035                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,934.00
          Daily Printing                                                        Contingent
          2333 Niagara Ln N                                                     Unliquidated
          Plymouth, MN 55447                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Daryl Schuetz                                                         Contingent
          6037 S Quatar Way                                                     Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $62,726.00
          David H. Gabriel                                                      Contingent
          235 Montura Way                                                       Unliquidated
          Novato, CA 94949-5444                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $190,972.00
          Deloitte and Touche                                                   Contingent
          50 S 6th Street                                                       Unliquidated
          #2800                                                                 Disputed
          Minneapolis, MN 55402
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $129,091.00
          Deloitte Tax LLP                                                      Contingent
          50 South Sixth Street                                                 Unliquidated
          Suite 2800                                                            Disputed
          Minneapolis, MN 55402-1538
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,000.00
          Diane Patricia Hays                                                   Contingent
          4147 King Arthur Pl                                                   Unliquidated
          Columbus, GA 31907                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Don Webber                                                            Contingent
          4851 Bermuda Dunes Ave                                                Unliquidated
          Banning, CA 92220                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300,000.00
          Donald R. & Nellie B. Jennings                                        Contingent
          8371 La Riviera Dr                                                    Unliquidated
          Sacramento, CA 95826                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,000.00
          Donald W Michels                                                      Contingent
          4336 Wingfeld Street                                                  Unliquidated
          Harrisburg, PA 17109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,000.00
          Doris H. Arnold                                                       Contingent
          6711 Lake Shore Drive                                                 Unliquidated
          Richfield, MN 55423-2399                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Duncan E. Simpson                                                     Contingent
          7528 Arlington Expressway                                             Unliquidated
          #320                                                                  Disputed
          Jacksonville, FL 32211
                                                                             Basis for the claim:    Noteholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Elvie Hinson Burns                                                    Contingent
          2462 Brookside Avenue                                                 Unliquidated
          Kissimmee, FL 34744-2704                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Energy Search Partners, Inc.                                          Contingent
          Todd Goehring                                                         Unliquidated
          1129 Broad Street #107                                                Disputed
          Shrewsbury, NJ 07702
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,000.00
          Ernest Leiby                                                          Contingent
          73 Barlow Dr N                                                        Unliquidated
          Brooklyn, NY 11234                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,000.00
          Ernest R. Looney, Jr.                                                 Contingent
          PO Box 800302                                                         Unliquidated
          Santa Clarita, CA 91380-0302                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $381.14
          FedEx                                                                 Contingent
          PO Box 94515                                                          Unliquidated
          Palatine, IL 60094                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Flavian J. DSouza                                                     Contingent
          1760 Greenleaf Ave                                                    Unliquidated
          Des Plaines, IL 60018                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,298.00
          Fredrikson & Byron, P.A.                                              Contingent
          PO Box 1484                                                           Unliquidated
          Minneapolis, MN 55480-1484                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $156,933.39
          Gary N. Hoipkemier                                                    Contingent
          64454 Miami Rd                                                        Unliquidated
          Bremen, IN 46506                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Gary Sosnick                                                          Contingent
          2033 Leeds Lane                                                       Unliquidated
          Nashville, TN 37221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,530.00
          Gayle Troyer                                                          Contingent
          5755 Charleston Bay Dr                                                Unliquidated
          Cumming, GA 30041                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,500.00
          George R. Hicks                                                       Contingent
          205 Marshall Ct                                                       Unliquidated
          Merritt Island, FL 32953-4431                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $180,830.64
          George R. McGee                                                       Contingent
          1042 Bomar Court                                                      Unliquidated
          Mars, PA 16046                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          George&Polyxeni Diamantopoulos                                        Contingent
          3110 Apollo Drive                                                     Unliquidated
          Bethlehem, PA 18017                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,000.00
          Gerald P. Schmude                                                     Contingent
          9035 N Rd                                                             Unliquidated
          Arpin, WI 54410                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $272,325.99
          Gerth Property Trust                                                  Contingent
          2247 Saine Manor Drive                                                Unliquidated
          Jackson, MI 49201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,197.00
          Gray Plant Mooty Mooty                                                Contingent
          500 IDS Center-Samuel Sigelman                                        Unliquidated
          80 S 8th Street                                                       Disputed
          Minneapolis, MN 55402-3796
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $909.00
          GreatAmerica Financial Svcs                                           Contingent
          PO Box 660831                                                         Unliquidated
          Dallas, TX 75266-0831                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,856.00
          Gregory H. Duckert                                                    Contingent
          2296 Tower Drive                                                      Unliquidated
          Stoughton, WI 53589                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,743.00
          Guardian                                                              Contingent
          315 W 36th St                                                         Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Harold Wright                                                         Contingent
          115 Saddle Trail                                                      Unliquidated
          Georgetown, TX 78633                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,465.00
          Irish Titan                                                           Contingent
          5320 West 23rd Street                                                 Unliquidated
          Suite 300                                                             Disputed
          Minneapolis, MN 55416
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Irwin H. Sebelowitz                                                   Contingent
          20608 Torre Del Lago Street                                           Unliquidated
          Estero, FL 33928-6356                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Issiac Rivers                                                         Contingent
          4128 Maurive Drive                                                    Unliquidated
          Delray Beach, FL 33445-3229                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Jacob Schuetz                                                         Contingent
          6037 S Quatar Way                                                     Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,000.00
          James Lyden                                                           Contingent
          1470 Boulder Springs Rd                                               Unliquidated
          Saint George, UT 84790                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,237.00
          James M. Beck                                                         Contingent
          5353 Mill Stream Court                                                Unliquidated
          Saint Cloud, FL 34771                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,100.00
          James W. Hettel                                                       Contingent
          17 Locust Ct                                                          Unliquidated
          Mays Landing, NJ 08330                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $156,945.64
          Janusz Peciak                                                         Contingent
          1 Olympic Plaza                                                       Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          John & Sandra M. VanMersbergen                                        Contingent
          2981 Terrell Cove Ln                                                  Unliquidated
          League City, TX 77573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,000.00
          John VanMersbergen                                                    Contingent
          2981 Terrell Cove Ln                                                  Unliquidated
          League City, TX 77573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,500.00
          Joseph A. Ruggiero                                                    Contingent
          3824 Boardwalk Place                                                  Unliquidated
          Ruskin, FL 33570                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Joseph M. Alfano                                                      Contingent
          15 Vandeventer Ct                                                     Unliquidated
          Sayreville, NJ 08872                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Joshua Gamzon                                                         Contingent
          4114 Omeara Dr                                                        Unliquidated
          Houston, TX 77025                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Justin Hughes                                                         Contingent
          1219 Club Yacht Rd                                                    Unliquidated
          Oak Point, TX 75068                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Kateriya Loshmanov                                                    Contingent
          1777 Congress St                                                      Unliquidated
          Fairfield, CT 06824                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,500.00
          Kenneth A. Pasini                                                     Contingent
          28373 Green Willow St                                                 Unliquidated
          Farmington, MI 48331-2875                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Kevin Grodkiewicz                                                     Contingent
          1004 Kellogg Drive                                                    Unliquidated
          Tavares, FL 32778                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,900.00
          Kris K. Bennett                                                       Contingent
          211 N Lincoln Ave                                                     Unliquidated
          Geneva, IL 60134-1216                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Lee Haak                                                              Contingent
          2116 RUstic Ridge Dr                                                  Unliquidated
          Keller, TX 76248                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,000.00
          LeRoy & Gwen Herder                                                   Contingent
          220 S 7th Street                                                      Unliquidated
          Phillipsburg, KS 67661-2717                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $425.00
          Liberty Mutual                                                        Contingent
          PO Box 2051                                                           Unliquidated
          Keene, NH 03431-7051                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $520.00
          Lighthouse Services                                                   Contingent
          1710 Walton Rd                                                        Unliquidated
          Suite 204                                                             Disputed
          Blue Bell, PA 19422
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Lindquist & Vennum LLP                                                Contingent
          80 S 8th STreet                                                       Unliquidated
          2000 IDS Center                                                       Disputed
          Minneapolis, MN 55402-2119
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Aspirity Holdings, LLC                                                                  Case number (if known)            18-40667
              Name

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $606,376.87
          Lynette Siegfried                                                     Contingent
          602 N Victoria Rd #21                                                 Unliquidated
          Donna, TX 78537                                                       Disputed
          Date(s) debt was incurred
                                                                                             11 Term Notes principal $584,068.37 plus interest of
                                                                             Basis for the claim:
          Last 4 digits of account number                                    $22,308.50 through March 31, 2017
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,330.00
          M2 Compliance, Inc.                                                   Contingent
          2029 Century Park East                                                Unliquidated
          Suite 400                                                             Disputed
          Los Angeles, CA 90067
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Maogen Zhang                                                          Contingent
          9249 64th Court                                                       Unliquidated
          #165                                                                  Disputed
          Pleasant Prairie, WI 53158
                                                                             Basis for the claim:    Noteholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Mark C. & Yung S. Theisen                                             Contingent
          1405 90th St W                                                        Unliquidated
          Northfield, MN 55057                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Mark Morales                                                          Contingent
          124 E 103rd St No. 8                                                  Unliquidated
          New York, NY 10029                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Marley Vil                                                            Contingent
          26 Larchqwood Dr                                                      Unliquidated
          Goshen, NY 10924                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Michael A. Goldman                                                    Contingent
          6723 Bardonia Street                                                  Unliquidated
          San Diego, CA 92119-1804                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Aspirity Holdings, LLC                                                                  Case number (if known)            18-40667
              Name

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,000.00
          Michael D. Black Sr.                                                  Contingent
          9269 July Ln                                                          Unliquidated
          Saint Augustine, FL 32080                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Michael E. Anderson                                                   Contingent
          10944 Chelsea Street                                                  Unliquidated
          Oak Hills, CA 92344                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $140,000.00
          Michael Grossberg                                                     Contingent
          32 Brandt Rd                                                          Unliquidated
          Stamford, CT 06905                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $132,356.62
          Michael Lawyer                                                        Contingent
          54 Hancock St                                                         Unliquidated
          Fort Plain, NY 13339                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,000.00
          Mingsheng Wang                                                        Contingent
          805 Ashland Street                                                    Unliquidated
          West Lafayette, IN 47906                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $1,875.00
          Morningstar Commodity Data Inc                                        Contingent
          2668 Paysphere Circle                                                 Unliquidated
          Chicago, IL 60674-2668                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $249,112.20
          Natalie O. Judge                                                      Contingent
          155 George Thomas Rd                                                  Unliquidated
          Vonore, TN 37885                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,250.00
          Nathan Deutscher                                                      Contingent
          E2885 Hailey Lane                                                     Unliquidated
          Eau Claire, WI 54701                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Patricia Pelaez                                                       Contingent
          1301 W. Madison                                                       Unliquidated
          Apt. 306                                                              Disputed
          Chicago, IL 60607
                                                                             Basis for the claim:    Noteholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,375.00
          Paul Haglund                                                          Contingent
          19550 Jasper Terrace                                                  Unliquidated
          Lakeville, MN 55044                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $250,500.00
          Paul N. Wilmesmeier                                                   Contingent
          1512 E Lake Geneva Rd NE                                              Unliquidated
          Alexandria, MN 56308                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Paul R. Grand                                                         Contingent
          Box 8705                                                              Unliquidated
          Fort Mohave, AZ 86427                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $20.00
          Paychex of New York LLC                                               Contingent
          Lockbox #732954                                                       Unliquidated
          PO Box 732954                                                         Disputed
          Dallas, TX 75373-2954
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Peter K. Matthews                                                     Contingent
          260 Chesapeake Lane                                                   Unliquidated
          Southlake, TX 76092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $5,000.00
          Peter Mamott                                                          Contingent
          PO Box 783321                                                         Unliquidated
          Winter Garden, FL 34778                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Peter Szarmach                                                        Contingent
          884 Huntington Dr                                                     Unliquidated
          Fishkill, NY 12524                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,000.00
          Peter W. and Ellen W. Liu                                             Contingent
          915 Violeta Dr                                                        Unliquidated
          Alhambra, CA 91801                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $331.00
          Premium Waters, Inc.                                                  Contingent
          PO Box 9128                                                           Unliquidated
          Minneapolis, MN 55480-9128                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Ralph Torgerson                                                       Contingent
          Ridge Apartments, Inc.                                                Unliquidated
          PO Box 280103                                                         Disputed
          Brooklyn, NY 11228-0103
                                                                             Basis for the claim:    Noteholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,598.00
          Redwater LLC                                                          Contingent
          5400 Opportunity Court                                                Unliquidated
          Suite 160                                                             Disputed
          Minneapolis, MN 55343
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Richard J. Palenik                                                    Contingent
          13570 W Echo Dr                                                       Unliquidated
          Gulfport, MS 39503                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          Richard OConnor                                                       Contingent
          W645 Hillview Drive                                                   Unliquidated
          Stoddard, WI 54658                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150,000.00
          Robert H. Pinder                                                      Contingent
          119 Juniper Berry Trail                                               Unliquidated
          Georgetown, TX 78633                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105,000.00
          Robert Hass                                                           Contingent
          10 Lake Sterling Gate Dr                                              Unliquidated
          Spring, TX 77379                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Robert Sklodowski                                                     Contingent
          2712 W Nighthawk Way                                                  Unliquidated
          Phoenix, AZ 85045-4217                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,500.00
          Robert Stephen Smith                                                  Contingent
          1320 Galsworthy Ave                                                   Unliquidated
          Orlando, FL 32809-6316                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,000.00
          Ronald C. Secory                                                      Contingent
          231 Saint Martin Dr                                                   Unliquidated
          Suwanee, GA 30024                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,200.00
          Ronald L. Behrensen                                                   Contingent
          870 Victoria Dr                                                       Unliquidated
          Red Lion, PA 17356-9506                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,500.00
          Ronald W. Sheldon                                                     Contingent
          1550 SW 7th Court                                                     Unliquidated
          Boca Raton, FL 33486                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,660.14
          Roy J. & Candace L. Johannes                                          Contingent
          10603 Bancroft Ln                                                     Unliquidated
          Frisco, TX 75035-2287                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Samuel P. Edison                                                      Contingent
          1405 Sterling Road                                                    Unliquidated
          Redlands, CA 92373-6675                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $55,000.00
          Sandra Marie VanMersbergen                                            Contingent
          2981 Terrell Cove Ln                                                  Unliquidated
          League City, TX 77573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,000.00
          Sheila Graf                                                           Contingent
          23 Redwood Manor                                                      Unliquidated
          Pontiac, IL 61764                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $68,167.52
          Sheng Gang Kuo & Yungfen Kao                                          Contingent
          1A Cambridge Circle                                                   Unliquidated
          Manchester Township, NJ 08759                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,250.00
          Shobha Gurbani                                                        Contingent
          12343 NW 7th Lane                                                     Unliquidated
          Miami, FL 33182                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Stanley F. Green                                                      Contingent
          69 Paseo Way                                                          Unliquidated
          Greenbrae, CA 94904                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,000.00
          Steven D. Eckels                                                      Contingent
          338 E Capitol Dr                                                      Unliquidated
          Hartland, WI 53029-2102                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $110,000.00
          Steven J. Vitale                                                      Contingent
          498 Dewitt Avenue N                                                   Unliquidated
          North Babylon, NY 11703                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,195.91
          Steven Skurski IRA                                                    Contingent
          4341 Thomas Dr F02                                                    Unliquidated
          Panama City, FL 32408                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Sylvia A. Bauder                                                      Contingent
          250 Hunters Way                                                       Unliquidated
          Victoria, TX 77904-4908                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $91,275.57
          Terry D. Gerth                                                        Contingent
          2247 Saines Manor Dr                                                  Unliquidated
          Jackson, MI 49201                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,647.58
          The Payne Family Trust of 1991                                        Contingent
          725 Mahogany St                                                       Unliquidated
          Orcutt, CA 93455-6094                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,000.00
          Thomas G. Knapp                                                       Contingent
          15 Alfie Ln                                                           Unliquidated
          Tunkhannock, PA 18657-9112                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Thomas Hirte                                                          Contingent
          2706 Water Pearl                                                      Unliquidated
          San Antonio, TX 78253-8437                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,931.35
          Thomas J. and Ruth A. Dye                                             Contingent
          209 Rena Street                                                       Unliquidated
          Newfield, NJ 08344-2610                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholders
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Thomas J. Smith                                                       Contingent
          5632 Snowy Orchid Dr                                                  Unliquidated
          Sugar Hill, GA 30518                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,000.00
          Thomas J. Virtue                                                      Contingent
          17 Glenn Terrace                                                      Unliquidated
          Newton, NJ 07860-5112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,000.00
          Thomas L. Adams                                                       Contingent
          2817 NE 32nd Street                                                   Unliquidated
          Apt 111                                                               Disputed
          Fort Lauderdale, FL 33306
                                                                             Basis for the claim:    Noteholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,500.00
          Thomas Simpson                                                        Contingent
          508 West 22nd Street                                                  Unliquidated
          Higginsville, MO 64037-1630                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Aspirity Holdings, LLC                                                                  Case number (if known)            18-40667
              Name

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $9,375.00
          Timothy Krieger                                                       Contingent
          16233 Kenyon Avenue                                                   Unliquidated
          Lakeville, MN 55044                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $8,500.00
          Timothy O. Finch                                                      Contingent
          49 Barney Lane                                                        Unliquidated
          Rochester, NY 14606                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,301.91
          Troy C. Judge                                                         Contingent
          155 George Thomas Rd                                                  Unliquidated
          Vonore, TN 37885                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Venkatraman Gopalakrishnan                                            Contingent
          36184 Adobe Drive                                                     Unliquidated
          Fremont, CA 94536                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $97,960.00
          Vivian M. Wray                                                        Contingent
          4114 Omeara Dr                                                        Unliquidated
          Houston, TX 77025                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $934.00
          Voyant Communications, LLC                                            Contingent
          PO Box 952151                                                         Unliquidated
          Dallas, TX 75395-2151                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Walter L. Futch                                                       Contingent
          7946 Prestwick Ct                                                     Unliquidated
          Columbus, GA 31909-2247                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Aspirity Holdings, LLC                                                                  Case number (if known)            18-40667
              Name

 3.145     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $15,000.00
           Warren A. Goldfein                                                   Contingent
           1 Hillside Drive                                                     Unliquidated
           Apt B213                                                             Disputed
           Mount Arlington, NJ 07856
                                                                             Basis for the claim:    Noteholder
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.146     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,000.00
           Widely Vil                                                           Contingent
           26 Larchwood Dr                                                      Unliquidated
           Goshen, NY 10924                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.147     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $530.00
           Wiley Sharp                                                          Contingent
           c/o Aspirity Energy, LLC                                             Unliquidated
           12800 Whitewater Dr, #250                                            Disputed
           Minnetonka, MN 55343
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.148     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $40,000.00
           Willy Vil                                                            Contingent
           26 Larchwood Dr                                                      Unliquidated
           Goshen, NY 10924                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Noteholder
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.149     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $118,529.00
           Winthrop & Weinstine, PA                                             Contingent
           225 S Sixth Street, #3500                                            Unliquidated
           Minneapolis, MN 55402                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                     6,185,442.24

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        6,185,442.24




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 Fill in this information to identify the case:

 Debtor name         Aspirity Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)         18-40667
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




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 Fill in this information to identify the case:

 Debtor name         Aspirity Holdings, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)         18-40667
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                          $0.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     PO Box 44397
                 8725 Columbine Rd
                 Eden Prairie, MN 55344

       14.2.     12800 Whitewater Drive
                 Minnetonka, MN 55434

       14.3.     701 Xenia Avenue
                 Minneapolis, MN 55416

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?


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 Debtor        Aspirity Holdings, LLC                                                                   Case number (if known) 18-40667



            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.     BMO Harris Bank NA                              XXXX-6923                   Checking                 Unknown                          Unknown
                 PO Box 755                                                                  Savings
                 Chicago, IL 60690                                                           Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     BMO Harris Bank NA                              XXXX-6931                   Checking                 Unknown                                $0.00
                 PO Box 755                                                                  Savings
                 Chicago, IL 60690                                                           Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                         Names of anyone with               Description of the contents            Do you still
                                                                       access to it                                                              have it?
                                                                       Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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 Debtor      Aspirity Holdings, LLC                                                                     Case number (if known) 18-40667




          None

       Facility name and address                                       Names of anyone with               Description of the contents                   Do you still
                                                                       access to it                                                                     have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                      Court or agency name and           Nature of the case                            Status of case
       Case number                                                     address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known               Date of notice
                                                                       address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed




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 Debtor      Aspirity Holdings, LLC                                                                     Case number (if known) 18-40667



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Aspirity Energy, LLC                                                                              EIN:
             12800 Whitewater Drive
             #250                                                                                              From-To
             Minnetonka, MN 55343

    25.2.    Aspirity Financial, LLC                                                                           EIN:
             PO Box 44397
             8725 Columbine Rd                                                                                 From-To
             Eden Prairie, MN 55344

    25.3.    Aspirity Services, LLC                                                                            EIN:
             PO Box 44397
             8725 Columbine Rd                                                                                 From-To
             Eden Prairie, MN 55344


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Aspirity Holdings, LLC
                    12800 Whitewater Drive
                    #250
                    Minnetonka, MN 55343

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Baker Tilly, et al                                                                                                         Baker Tilly has
                    225 S 6th Street #2300                                                                                                     perpared
                    Minneapolis, MN 55402                                                                                                      consolidated
                                                                                                                                               financial reports for
                                                                                                                                               Aspirity Holdings

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Deloitte and Touche                                                                      Deloitte and Touche was an Auditor in 2016
                    50 S 6th Street                                                                          for Aspirity Holdings, LLC
                    #2800
                    Minneapolis, MN 55402
       26c.2.       Aspirity Holdings, LLC
                    PO Box 44397
                    8725 Columbine Rd
                    Eden Prairie, MN 55344

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      Aspirity Holdings, LLC                                                                     Case number (if known) 18-40667




               None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Timothy Krieger                                19555 Oak Grove Avenue                              Shareholder                           71%
                                                      Prior Lake, MN 55372

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Scott Lutz                                     19133 Magenta Bay                                   CEO
                                                      Eden Prairie, MN 55347-2125



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Scott Lutz                                     19133 Magenta Bay                                   CEO
                                                      Eden Prairie, MN 55347-2125

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Timothy Krieger                                19555 Oak Grove Avenue
                                                      Prior Lake, MN 55372

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Paul Haglund                                   19550 Jasper Terrace
                                                      Lakeville, MN 55044


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?


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 Debtor      Aspirity Holdings, LLC                                                                     Case number (if known) 18-40667




            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Twin City Power Holdings, LLC                                                                              EIN:
    16233 Kenyon Avenue S
    #210
    Lakeville MN 55044

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 27, 2018

 /s/ Chris Beck, Petitioning Creditor                                    Chris Beck
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Petitioning Creditor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                          District of Minnesota
 In re      Aspirity Holdings, LLC                                                                          Case No.   18-40667
                                                                                    Debtor(s)               Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       April 27, 2018
                                                                         Chris Beck, Petitioning Creditor
                                                                         Signer/Title




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